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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

                                                        )
 LILIAN PAHOLA CALDERON JIMENEZ                         )
 and LUIS GORDILLO, et al.,                             )
                                                        )
                                                        )
 Individually and on behalf of all others
                                                        )
 similarly situated,                                    )
                                                        )   No. 1:18-cv-10225-MLW
                Plaintiffs-Petitioners,                 )
                                                        )
        v.                                              )
                                                        )
 ALEJANDRO MAYORAKS, et al.,                            )
                                                        )
                Defendants-Respondents.                 )
                                                        )

                           NOTICE OF WITHDRAWAL AS COUNSEL

       Pursuant to Local Rule 83.5.2(c), Counsel for Petitioners hereby notifies the Court of the

withdrawal of Colleen M. McCullough as counsel in the above-captioned matter. As of June 6, 2024

Ms. McCullough is no longer associated with Wilmer Cutler Pickering Hale and Dorr LLP

(“WilmerHale”). Petitioners will continue to be represented by WilmerHale, along with co-counsel at

the American Civil Liberties Union Foundation of Massachusetts, Inc. and attorney Kathleen M.

Gillespie, who remain attorneys of record in this case.




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                                        Counsel for the Petitioners

                                        /s/ Colleen M. McCullough
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Dated: June 3, 2024




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